        Case 1:21-cv-01773-TSC Document 13-2 Filed 02/01/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                    )
GOCE GLIGOROV,                      )
                                    )
            Plaintiff,              )
                                    )
      v.                            )               21-cv-1773
                                    )
NATION OF BRUNEI, et al.,           )
                                    )
            Defendants.             )
____________________________________)

                                  [PROPOSED] ORDER

       This matter came before the Court on the Defendants Dorchester Collection and

Dorchester Group, LLC’s (“Defendants”) Motion to admit W. Baker Gerwig, IV pro hac vice . It

is this ____ day of _______________, 2022, hereby

       ORDERED, that Defendants’ motion is Granted.


                                                     Hon. Tanya S. Chutkan
                                                     United States District Judge
Copies to:

All counsel of record
Via ECF
